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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
  vs.                                             §            Case No. 4:01cr44
                                                  §            (Judge Schell)
 LESLIE ANN HORNER (24)                           §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on September 22, 2011, to determine whether Defendant violated her supervised

 release. Defendant was represented by Denise Benson. The Government was represented by

 Randall Blake.

        On January 25, 2002, Defendant was sentenced by the Honorable Paul Brown to one hundred

 and twenty (120) months’ custody followed by five (5) years of supervised release for the offense of

 Conspiracy to Manufacture, Distribute, or Possess with Intent to Manufacture, Distribute, or Dispense

 Methamphetamine. On November 27, 2009, Defendant completed her period of imprisonment and

 began service of her supervised term.

        On March 10, 2011, the U.S. Probation Officer filed a Petition for Warrant for Offender

 Under Supervision. The petition asserted that Defendant violated the following mandatory

 condition: the defendant shall not commit another federal, state, or local crime.

        The petition alleges that Defendant committed the following acts with regard to the

 mandatory condition: On February 26, 2011, Defendant was arrested by the Garland, Texas Police

 Department for the offense of Forgery. On February 28, 2011, Defendant was booked into the Dallas

 County Jail.
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            Prior to the Government putting on its case, Defendant entered a plea of true allegation one.

     The Government dismissed allegations two, three, and four.           The Court recommends that

     Defendant’s supervised release be revoked.

                                         RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of twelve (12) months and one

     (1) day followed by no supervised release. The Court also recommends that this sentence should be

     served consecutively to any sentence of imprisonment the Defendant is currently serving, and that

     Defendant be housed in the Fort Worth facility.
.
            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.

            SIGNED this 23rd day of September, 2011.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES MAGISTRATE JUDGE
